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 8                                                 UNITED STATES DISTRICT COURT
 9                                            SOUTHERN DISTRICT OF CALIFORNIA
10

11    ERIN CHRISTENSEN,                                           Case No.: 3:17-cv-01844-GPC-JMA
12                 Plaintiff,
13                               v.                               ORDER GRANTING MOTION TO
                                                                  DISMISS ENTIRE ACTION WITH
14    TARGET CORPORATION,                                         PREJUDICE
15                 Defendant.
16

17                 Pursuant to the Joint Motion to Dismiss Entire Action with Prejudice filed
18    by the parties and good cause appearing therefore, the Court orders as follows:
19    This entire action is hereby dismissed, with prejudice, pursuant to Federal Rule of
20    Civil Procedure 41(a).
21                 IT IS SO ORDERED.
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23    Dated: November 15, 2017
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                             ORDER GRANTING MOTION TO DISMISS ENTIRE ACTION WITH PREJUDICE
